Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
Filed 06/17/19   Case 19-11410   Doc 14
